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Mr. Ajit Bhogaita
312€ Cherokee Ct.
Altamonte Springs, Fl. 32701

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July 13, 2010

Dear Mr. Bhogaita,

We have received your request to keep your pet dog at your residence stating that
you have a qualifying disability under the Americans with Disabilities Act, the Fair
Housing Act, and the Rehabilitation Act of 1973. As noted previously, the issue at hand
is that your pet dog is well above the 25 pound weight limit that is the maximum weight a
pet may be according to our Association rules and restrictions.

Based on your claims that you fall under the above noted Federal Acts in regards
to keeping your dog outside the normal association weight restrictions, your information
was forwarded to the Association attorney for review. At this time according to our
attomey it appears that your request to keep your dog may not be qualified under the Acts
cited, however, it is requested that you provide the following supplemental information
regarding this matter prior to a final determination being made. Please provide this
information to the Association, in writing, within the riext 30 days.

¢ What is the exact nature of your impairment? How does it substantially limit a
major life activity?

e How long have you been receiving treatment for this specific impairment?

e How many sessions have you had with Dr. Li?

e What specific training has your dog received?

© Why does it require a dog over 25 pounds to afford you an equal opportunity
to use and enjoy your dwelling?

Upon answering these questions the Association will be able to make a final
determination on this matter. Thank you.

Cee Cred. AOSO\SD ONO ALS VL ZF

Dennis Warren, Director
Altamonte Heights BOD

